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 5   Attorneys of Record for Plaintiff,
 6
     Bryan Estrada

 7
                            UNITED STATES DISTRICT COURT
 8
                           CENTRAL DISTRICT OF CALIFORNIA
 9

10   Bryan Estrada,                                   Case No. 5:20-cv-1421
11
                      Plaintiff,                      COMPLAINT
12

13
                      v.
14

15   Lora E. Adcock; Carpet Emporium and
     Does 1-10, inclusive,
16

17                    Defendants.
18

19         Plaintiff, Bryan Estrada, hereby complains and alleges as follows:
20

21                                 NATURE OF THE ACTION
22                1. This is an action seeking to remedy unlawful discrimination by
23   the Defendants against the Plaintiff in the Defendants’ places of public
24   accommodation in violation of the Americans with Disabilities Act [42 U.S.C. §
25
     12101, et seq.] (the “ADA”) and the Unruh Civil Rights Act [California Civil Code
26
     § 51, et seq.] (the “Unruh Act”).
27

28                                          -1-
                                          COMPLAINT
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 1
                                           PARTIES
 2                2. Plaintiff, Bryan Estrada, is a resident of the state of California
 3   who requires the use of a wheelchair for mobility purposes and who is therefore a
 4   “person with a disability” within the meaning of the ADA and Cal. Government
 5   Code § 12926.
 6                3. The Defendants (defined below) discriminated against
 7
     Plaintiff in the full and equal enjoyment of the goods, services, facilities,
 8
     privileges, advantages, or accommodations on the basis of Plaintiff’s disability at
 9
     the Subject Property (defined below) in violation of the ADA [42 U.S.C. §§
10
     12182(a), 12182(b)(2)(A)(iv) and 12182(b)(2)(A)(v)].
11
                  4. The Defendant’s failure to make reasonable modifications in
12
     policies, practices, or procedures when such modifications are necessary to afford
13

14
     goods, services, facilities, privileges, advantages, or accommodations to

15   individuals with disabilities prevented Plaintiff from enjoying fair and equal access
16   to the Subject Property (defined below) in violation of the ADA [42 U.S.C. §
17   12182(b)(2)(A)(ii)].
18                5. Defendant, Lora E. Adcock, owns, operates, or leases
19   real property located at 6660 Indiana Ave., Riverside, CA 92506, also known as
20   Riverside County Assessor’s Parcel No. 229-140-008(the “Subject Property”).
21
                  6. Defendant, Carpet Emporium, owns, operates, or leases
22
     real property located at 6660 Indiana Ave., Riverside, CA 92506, also known as
23
     Riverside County Assessor’s Parcel No. 229-140-008(the “Subject Property”).
24
                  7. The Subject Property is a commercial facility open to the general
25
     public, is a public accommodation, and is a business establishment insofar as
26
     goods and/or services are made available to the general public thereat. Defendant
27

28                                            -2-
                                            COMPLAINT
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 1
     Does 1 through 10, inclusive, are sued herein under fictitious names. Their true
 2   names and capacities are unknown to the Plaintiff. When their true names and
 3   capacities are ascertained, Plaintiff will amend this complaint by inserting their
 4   true names and capacities herein. Plaintiff is informed and believes and thereon
 5   alleges that each of the fictitiously named Defendants are responsible in some
 6   manner for the occurrences herein alleged, and that the harm to Plaintiff herein
 7
     alleged were proximately caused by those Defendants.
 8

 9
                                JURISDICTION AND VENUE
10
                   8.   This Court has jurisdiction over the subject matter of this action
11
     pursuant 28 U.S.C. § 1331 and 28 U.S.C. §§ 1343(a)(3) and 1343(a)(4) for
12
     violations of the ADA.
13

14
                   9.   This Court has supplemental jurisdiction over the state law

15   claims alleged herein under the Unruh Act because the state law claim is an
16   attendant and related cause of action that arises from the same nucleus of operative
17   facts and arising out of the same transaction or occurrence as the federal law
18   claims set forth herein.
19                 10. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)
20   based on the fact that the real property that is the subject of this action is located in
21
     this district and the Plaintiff’s causes of action arose in this district.
22

23
                                   STATEMENT OF FACTS
24
                   11. Parking spaces, accessible aisles, paths of travel, signage,
25

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28                                             -3-
                                             COMPLAINT
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 1
     doorways, service counters, customer areas and goods/services are among the
 2   facilities, privileges and advantages offered by the Defendants to patrons of the
 3   Subject Property.
 4                12.    The Subject Property does not comply with the minimum
 5   requirements of the ADA and is therefore not equally accessible to Plaintiff or
 6   similarly situated persons with mobility disabilities.
 7
                  13.    In December, 2019 and continuously from that time to the
 8
     Present, and currently, the Subject Property has not been in compliance with the
 9
     ADA (the “Barriers”):
10
                         A.    The Subject Property lacks the minimum required
11
     number of ADA compliant accessible parking spaces.
12
                         B.    There was no diagonal striped marking and no blue
13

14
     border around where an access aisle is supposed to exist adjacent to any designated

15   accessible parking space(s) serving the Subject Property.
16                       C.    The designated “accessible” parking space(s) and/or blue
17   striped access aisles provided at the Subject Property are smaller than permitted by
18   the ADA.
19                       D.    The designated “accessible” parking spaces at the Subject
20   Property do not provide accessible parking signage as required by the ADA.
21
     Among other things, they fail toprovide tow-away signage and “Minimum Fine
22
     $250” signage as required by the ADA and state law to beposted near the
23
     designated accessible parking space(s).
24
                         E.    The designated “accessible” parking spaces at the Subject
25
     Property do not provide the universal symbol of accessibility.
26

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28                                           -4-
                                           COMPLAINT
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 1
                        F.     There is no twelve-inch high “NO PARKING” lettering
 2   on the blue-striped parking accessaisle(s) serving the Subject Property.
 3                      G.     There was no designated “van accessible” parking space
 4   with a corresponding 96” access aisle opposite the driver’s side when the vehicle is
 5   going forward into the parking space and no sign or additional language stating
 6   “Van Accessible” below the symbol of accessibility located in a manner that is not
 7
     obstructed.
 8
                        H.     The designated accessible parking spaces serving the
 9
     Subject Property were not located closest to the accessible entrance but, instead,
10
     were located at an unreasonable distance or across a hazardous vehicular route
11
     where safer alternative accommodations are possible.
12
                        I.     The parking spaces and access aisles provided at the
13

14
     Subject Property are at an excessive slope and are too steep.

15                      J.     Accessible paths of travel serving the Subject Property
16   contain changes in level greater than ½ inch (13mm) with no compliant curb cuts
17   or curb ramps.
18                      K.     The curb ramp flares are too steep and/or the curb ramps
19   improperly extended into the access aisles.
20                      L.     The curb cuts or curb ramps serving the Subject Property
21
     were inaccessible insofar as they were impermissibly steep.
22
                        M.     There were no accessible paths of travel from public
23
     transportations stops, accessible parking, public streets and sidewalks to the
24
     building entrances serving the Subject Property.
25
                        N.     The accessible paths of travel serving the Subject
26

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28                                           -5-
                                           COMPLAINT
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 1
     Property contain areas where the slope exceeds the maximum slope permitted by
 2   the ADA.
 3                14.   Plaintiff personally encountered one or more of the Barriers
 4   at the Subject Property in December, 2019.
 5                15.   From December, 2019 to the present, the Plaintiff has been
 6   deterred from the Subject Property because of his knowledge of the existence of
 7
     Barriers.
 8
                  16.   The existence of Barriers, the implementation of discriminatory
 9
     policies, practices and procedures, and other ADA violations at the Subject
10
     Property caused Plaintiff difficulty, discomfort or embarrassment or reasonably
11
     dissuaded or deterred Plaintiff from accessing the Subject Property on particular
12
     occasions between December, 2019 and the present.
13

14
                  17.   Plaintiff would like to return and patronize the Subject Property

15   and use the business establishments thereat and intends to do so in the near future
16   but will be deterred from doing so until all ADA violations are remediated.
17                18.   On information and belief, the remediation of violations
18   identified hereinabove, to be identified by the Defendants in discovery, and to be
19   discovered by Plaintiff’s experts are all readily achievable in that the removal of
20   them by the Defendants is and has been easily accomplishable without much
21
     difficulty or expense.
22
                  19.   Defendants violated the ADA by failing to remove all mobility-
23
     related architectural barriers at the Subject Property. On information and belief,
24
     Plaintiff alleges that the failure to remove barriers has been knowing, willful and
25
     intentional because the barriers described herein are clearly visible and tend to be
26
     obvious even to a casual observer and because the Defendants operate the Subject
27

28                                           -6-
                                           COMPLAINT
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 1
     Property and have control over conditions thereat and as such they have, and have
 2   had, the means and ability to make the necessary remediation of access barriers if
 3   they had ever so intended.
 4                20.    On information and belief, access barriers at the Subject
 5   Property are being consciously ignored by the Defendants; the Defendants have
 6   knowingly disregarded the ongoing duty to remove the Barriers in compliance with
 7
     the ADA. Plaintiff further alleges on information and belief that there are other
 8
     ADA violations and unlawful architectural barriers at the Subject Property that
 9
     relate to Plaintiff’s mobility disability that will be determined in discovery, the
10
     remediation of which is required under the ADA.
11
                  21.    Plaintiff hereby seeks to remediate and remove all barriers
12
     related to his disability, whether presently known or unknown. As the court held
13

14
     in Doran v. 7-11. Inc., 506 F.3d 1191 (9th Cir. 2008):

15         “[W]here a disabled person has Article III standing to bring a claim for
           injunctive relief under the ADA because of at least one alleged statutory
16
           violation of which he or she has knowledge and which deters access to, or
17         full use and enjoyment of, a place of public accommodation, he or she may
           conduct discovery to determine what, if any, other barriers affecting his or
18
           her disability existed at the time he or she brought the claim. This list of
19         barriers would then in total constitute the factual underpinnings of a single
20         legal injury, namely, the failure to remove architectural barriers in violation
           of the ADA, which failure actually harmed the disabled person by deterring
21
           that disabled person from visiting a facility that otherwise would have been
22         visited at a definite future time, yielding Article III standing.”
23
                  22.    Even if strictly compliant barrier removal were determined to
24
     be structurally or otherwise impracticable, there are many alternative methods of
25
     providing accommodations that are readily apparent and that could provide a
26
     greater degree of accessibility to the Plaintiff and similarly situated persons but for
27

28                                            -7-
                                            COMPLAINT
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 1
     the Defendants’ discriminatory policies, practices and procedures and Defendants’
 2   conscious indifference to their legal obligations and to the rights of persons with
 3   mobility disabilities. Defendants’ failure to implement reasonable available
 4   alternative methods of providing access violates the ADA [42 U.S.C. §
 5   12182(b)(2)(A)(v)].
 6                23.   The violations and references to code sections herein are not
 7
     all-inclusive. Plaintiff will amend this complaint to provide a complete description
 8
     of the full scope of ADA violations after conducting a comprehensive expert site
 9
     inspection and other discovery. For the purposes of this Complaint, Plaintiff
10
     asserts that the barriers alleged herein violate one or more of the ADA’s
11
     implementing regulations. The Defendants have maintained and continue to
12
     maintain discriminatory policies, procedures and practices that disregard their
13

14
     obligations under the ADA by allocating resources for physical improvements to

15   the Subject Property that were did not provide legally required accessibility
16   improvements, by failing to conduct ADA self-inspections or create ADA
17   compliance plans regarding the Subject Property, by causing alterations to be made
18   to the Subject Property in disregard of ADA requirements, and for failing and
19   refusing to make necessary accommodations for persons with mobility disabilities
20   at the Subject Property. Plaintiff seeks a declaration that the Defendants’ disability
21
     rights compliance policies, procedures and practices are discriminatory and violate
22
     the ADA.
23
                              FIRST CAUSE OF ACTION
24                           Discrimination Based on Disability
25                              [42 U.S.C. §§ 12101, et seq.]
                             By Plaintiff against all Defendants
26

27
                  24.   Plaintiff re-alleges and incorporates by reference as though
28                                           -8-
                                           COMPLAINT
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 1
     fully set forth herein the allegations contained in all prior paragraphs of this
 2   complaint.
 3                25.    The ADA obligates owners, operators, lessees and lessors of
 4   public accommodations to ensure that the privileges, advantages, accommodations,
 5   facilities, goods and services are offered fully and equally to persons with
 6   disabilities, including the Plaintiff and others similarly situated [42 U.S.C. §
 7
     12182(a)].
 8
                  26.    Discrimination is defined in the ADA, inter alia, as follows:
 9
                         A.     A failure to remove architectural barriers where such
10
     removal is readily achievable [42 U.S.C. § 12182(b)(2)(A)(iv)]. Architectural
11
     barriers are identified and described in the Americans with Disabilities Act
12
     Accessibility Guidelines (the “ADAAG”) [28 C.F.R. Part 36, Appendix “D”].
13

14
                         B.     A failure to make alterations in such a manner that, to the

15   maximum extent feasible, the altered portions of the facility are readily accessible
16   to and usable by individuals with disabilities, including individuals who use
17   wheelchairs or to ensure that, to the maximum extent feasible, the path of travel to
18   the altered area and the bathrooms, telephones, and drinking fountains serving the
19   altered area, are readily accessible to and usable by individuals with disabilities [42
20   U.S.C. § 12183(a)(2)].
21
                         C.     Where an entity can demonstrate that the removal of a
22
     barrier is not readily achievable, a failure to make such goods, services, facilities,
23
     privileges, advantages, or accommodations available through alternative methods
24
     if such methods are readily achievable [42 U.S.C. § 12182(b)(2)(A)(v)].
25
                         D.     A failure to make reasonable modifications in
26
     policies, practices, or procedures, when such modifications are necessary to afford
27

28                                            -9-
                                            COMPLAINT
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 1
     such goods, services, facilities, privileges, advantages, or accommodations to
 2   individuals with disabilities, unless the entity can demonstrate that making such
 3   modifications would fundamentally alter the nature of such goods, services,
 4   facilities, privileges, advantages, or accommodations [42 U.S.C. §
 5   12182(b)(2)(A)(ii)].
 6               27.    The ADA, the ADAAG’s 1991 Standards (the “1991
 7
     Standards”) and 2010 Standards (the “2010 Standards”), and the California
 8
     Building Code (the “CBC”) contain minimum standards that constitute legal
 9
     requirements regarding wheelchair accessibility at places of public
10
     accommodation:
11
                        A.    If parking spaces are provided for self-parking by
12
     employees or visitors, or both, then the subject property must provide at least the
13

14
     minimum required number of accessible parking spaces.Accessible parking

15   spaces must be marked to define their width and must have an adjacent ADA
16   compliant access aisle. Accessible parking spaces must be at least 96 inches wide
17   and van parking spaces must be at least 132 inches wide except that van parking
18   spaces can be 96 inches wide where the access aisle is not less than 96 inches
19   wide [1991 Standards § 4.1.2(5); 2010 Standards § 208 and 502.2]. Here, the
20   Subject Property does not comply with the ADA.
21
                        B.    To qualify as a reserved handicap parking space, the
22
     space must be properly marked and designated. Under the ADA, the method,
23
     color of marking and length of the parking space are to be addressed by state or
24
     local laws of regulations [1991 Standards § 4.6; 2010 Standards §§ 502, 502.3.3
25
     and 503].
26

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28                                          -10-
                                          COMPLAINT
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 1
                        C.    To properly and effectively reserve a parking space for
 2   persons with disabilities, each parking space must be at least 216 inches in length
 3   [CBC § 11B-502.2].
 4                      D.    Each parking space reserved for persons with disabilities
 5   shall be identified by a reflectorized sign permanently posted immediately
 6   adjacent to and visible from each stall or space, consisting of the International
 7
     Symbol of Accessibility in white on a dark blue background. The sign shall not be
 8
     smaller than 70 square inches (4516 mm2) in area and, when in a path of travel,
 9
     shall be posted at a minimum height of 80 inches (2032 mm) from the bottom of
10
     the sign to the parking space finished grade. Signs may also be centered on the
11
     wall at the interior end of the parking space. An additional sign or additional
12
     language below the symbol of accessibility shall state "Minimum Fine $250"
13

14
     [2010 Standards § 502.6; CBC § 1129B.4].

15                      E.    Signs identifying accessible parking spacesmust include
16   the International Symbol of Accessibility [2010 Standards §§ 502.6].
17                      F.    To properly and effectively reserve a parking space for
18   persons with disabilities, the surface of the access aisle must have a blue
19   border; the words “NO PARKING” in letters at least a foot high must be
20   painted on the access aisle [CBC § 1129B.3].
21
                        G.    One in every eight accessible spaces, but not less than
22
     one, must be served by a loading and unloading access aisle 96 inches (2438 mm)
23
     wide minimum placed on the side opposite the driver’s side when the vehicle is
24
     going forward into the parking space and shall be designated van accessible. Van
25
     accessible spaces must have an additional sign or additional language stating "Van
26
     Accessible" below the symbol of accessibility. Signs identifying accessible
27

28                                          -11-
                                          COMPLAINT
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 1
     parking spaces must be located so they cannot be obscured by a vehicle parked in
 2   the space[1991 Standards § 4.6; 2010 Standards §§ 502; CBC §§ 1129B.3
 3   and B4].
 4                      H.     Accessible parking spaces serving the Subject Property
 5   must be located on the shortest accessible route of travel from adjacent parking to
 6   an accessible entrance. In buildings with multiple entrances with adjacent parking,
 7
     accessible parking spaces must be dispersed and located closest to the accessible
 8
     entrances [1991 Standards § 4.6.2; 2010 Standards § 208.3.1].
 9
                        I.     Parking spaces and access aisles shall be level with
10
     surface slopes not exceeding 1:50 (2%) in all directions [ADAAG 4.6.3;
11
     CBC § 1129B.3].
12
                        J.     Changes in levels along an accessible route greater
13

14
     than 1/2 in (13 mm) require the provision of a curb ramp, ramp, elevator, or

15   platform lift [1991 Standards § 4.3.8; 2010 Standards §§ 303.4, 405, and
16   406].
17                      K.     Curb rampsand the flared sides of curb rampsmust
18   be located so that they do not project into vehicular traffic lanes, parking
19   spaces, or parking access aisles. Curb ramp flares cannot be steeper than
20   1:10. Curb ramps at marked crossingsmust be wholly contained within the
21
     markings, excluding any flared sides [1991 Standards § 4.7.5; 2010
22
     Standards §§406.3 and 406.5].
23
                        L.     Curb ramps must have a running slope no steeper
24
     than 1:12 [1991 Standards § 4.7.2; 2010 Standards § 405.2].
25
                        M.     At least one accessible route must be provided from
26
     public transportation stops, accessible parking, and accessible passenger
27

28                                          -12-
                                          COMPLAINT
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 1
     loading zones, and public streets or sidewalks to the accessible building
 2   entrance they serve. The accessible route must, to the maximum extent
 3   feasible, coincide with the route for the general public, must connect
 4   accessible buildings, facilities, elements, and spaces that are on the same
 5   site, and at least one accessible route must connect accessible building or
 6   facility entrances with all accessible spaces and elements and with all
 7
     accessible dwelling units within the building or facility [1991 Standards
 8
     §§4.1.2(1) and 4.3.2; 2010 Standards §§206 and 401].
 9
                       N.    Slopes of a path of travel along an accessible route
10
     cannot exceed 1:48 [2010 Standards § 304.2].
11
                 28.   The Defendants have failed to comply with minimum
12
     ADA standards and have discriminated against Plaintiff on the basis of
13

14
     Plaintiff’s mobility disability. Each of the barriers and accessibility

15   violations set forth above is readily achievable to remove, is the result of an
16   alteration that was completed without meeting minimum ADA standards,
17   or could be easily remediated by implementation of one or more available
18   alternative accommodations. Accordingly, the Defendants have violated
19   the ADA.
20               29.   The Defendants are obligated to maintain in operable
21
     working condition those features of the Subject Property’s facilities and
22
     equipment that are required to be readily accessible to and usable by
23
     Plaintiff and similarly situated persons with disabilities [28 C.F.R. §
24
     36.211(a)]. The Defendants failure to ensure that accessible facilities at the
25
     Subject Property were available and ready to be used by the Plaintiff
26
     violates the ADA.
27

28                                        -13-
                                        COMPLAINT
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 1
                 30.    The Defendants have a duty to remove architectural
 2   barriers where readily achievable, to make alterations that are consistent
 3   with minimum ADA standards and to provide alternative accommodations
 4   where necessary to provide wheelchair access. The Defendants benign
 5   neglect of these duties, together with their general apathy and indifference
 6   towards persons with disabilities, violates the ADA.
 7
                 31.    The Defendants have an obligation to maintain policies,
 8
     practices and procedures that do not discriminate against the Plaintiff and
 9
     similarly situated persons with mobility disabilities on the basis of their
10
     disabilities. The Defendants have maintained and continue to maintain a policy of
11
     disregarding their obligations under the ADA, of allocating resources for
12
     improvements insufficient to satisfy legal requirements regarding accessibility
13

14
     improvements, of failing to conduct ADA self-inspections or create ADA

15   compliance plans, of causing alterations to be made to the Subject Property in
16   disregard of ADA requirements, and of failing and refusing to make necessary
17   accommodations for persons with mobility disabilities at the Subject Property, in
18   violation of the ADA.
19               32.    The Defendants wrongful conduct is continuing in that
20   Defendants continue to deny full, fair and equal access to their business
21
     establishment and full, fair and equal accommodations, advantages,
22
     facilities, privileges and services to Plaintiff as a disabled person due to
23
     Plaintiff’s disability. The foregoing conduct constitutes unlawful
24
     discrimination against the Plaintiff and other mobility disabled persons
25
     who, like the Plaintiff, will benefit from an order that the Defendants
26

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28                                          -14-
                                          COMPLAINT
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 1
     remove barriers and improve access by complying with minimum ADA
 2   standards.
 3                            SECOND CAUSE OF ACTION
                              Violations of the Unruh Rights Act
 4
                                [Cal.Civil Code§ 51, et seq.]
 5                            By Plaintiff against all Defendants
 6

 7                33.    Plaintiff re-alleges and incorporates by reference as though
 8   fully set forth herein the allegations contained in all prior paragraphs of this
 9   complaint.
10                34.    The foregoing violations of the ADA constitute per se
11   violations of the Unruh Act [Cal.Civil Code§ 51(f)].
12
                  35.    Plaintiff personally encountered Barriers at the Subject
13
     Property and has experienced, difficulty, discomfort or embarrassment or
14
     has been reasonably dissuaded or deterred from accessing the Subject
15
     Property on particular occasions due to ADA violations which would have
16
     actually denied Plaintiff full and equal access if he had attempted to access
17
     the Subject Property on those particular occasions.
18

19
                  36.    Due to the unlawful discrimination set forth above,
20   Plaintiff has been denied the right and entitlement to full and equal
21   accommodations, advantages, facilities, privileges or services by the
22   Defendants at the Subject Property in violation of the Unruh Act.
23

24                               PRAYER FOR RELIEF
25
           Plaintiff prays to this Court for injunctive, declaratory and all other
26
     appropriate relief under the ADA and the Unruh Act, including but not
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28                                            -15-
                                            COMPLAINT
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 1
     limited to reasonable attorney’s fees, litigation expenses and costs of suit
 2   pursuant to 42 U.S.C. § 12205 and Cal. Civil Code § 52.
 3         Note: Plaintiff is not invoking Cal. Civil Code § 55 and does
           not seek injunctive relief under the Disabled Persons Act at all.
 4

 5   Respectfully submitted,
 6
     Dated: 07/16/2020     LAW OFFICES OF ROSS CORNELL, APC
 7

 8
                                   By: /s/ Ross Cornell
 9
                                       Ross Cornell, Esq.,
10                                     Attorneys for Plaintiff,
11                                     Bryan Estrada
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28                                        -16-
                                        COMPLAINT
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